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         Case 4:20-cv-00453 Document 11-1 Filed on 04/20/20 in TXSD Page 1 of 2
                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


ABS-CBN Corporation, et al.                      §
                                                 §
versus                                           §          Civil Action 4:20-cv-00453
                                                 §
Alberto Ace Mayol Alfaro                         §


                                           PROPOSED
                                       SCHEDULING ORDER


                                         AMENDMENTS TO PLEADINGS AND
                                         ADDITION OF NEW PARTIES
                                         Party requesting joinder will furnish a copy of this
                                         scheduling order to new parties.

                                         EXPERTS
                                         Plaintiff, or party with the burden of proof, will
                                         designate expert witnesses in writing, listing the
                                         qualifications of each expert, the opinions the expert
                                         will present, and the bases for the opinions as required
                                         under Federal Rule of Civil Procedure 26(A)(2).

                                         Defendant, or party without the burden of proof, will
                                         designate expert witnesses in writing, listing the
                                         qualifications of each expert, the opinions the expert
                                         will present, and the bases for the opinions as required
                                         under Federal Rule of Civil Procedure 26(A)(2).

                                         DISCOVERY
                                         Counsel may, by agreement continue discovery beyond
                                         the deadline. No continuance will be granted because of
                                         information acquired in post-deadline discovery.
     M AR.G\.\ 3\       '2.. 0 2.. I
4.                  )                    MOTIONS DEADLINE
                                         Including any motion challenging an expert witness
                                         (only motions in limine on issues other than experts
                                         may be filed after this date). The motion deadline may
                                         Dill be changed by agreement.
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                                      JOINT PRETRIAL ORDER
5a. To be determined by the Court.    THE DEFENDANT shall supply the Plaintiff with a
                                      final version of its pretrial order by this date. (Where
                                      available, Defendant should supply Plaintiff with an
                                      electronic copy.)

5b. To be determined by the Court.    THE PLAINTIFF is responsible for filing the pretrial
                                      order on this date. All Motions in Limine must also be
                                      filed by this date.

6. To be determined by the Court.      DOCKET CALL is set at 1:30 p.m. in Courtroom 8C.

7. To be determined by the Court.      TRIAL is set at 9:00 a.m. in Courtroom 8C.
                                       Case is subject to being called to trial on short notice
                                       during the two week period beginning on this date.


    The Clerk shall enter this Order and provide a copy to all parties.


    SIGNED on _ _ _ _ _ _ _ _ _ _ _ , at Houston, Texas.




                                                      Alfred H. Bennett
                                                      United States District Judge
